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FILED - LN
October 12, 2010 11:04 AM

 

 

TRACEY CORDES, CLERK
UNITED STATES DISTRICT COURT U.$. DISTRICT COURT yy
AS fh DISTRICT OF MJ
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WESTERN DISTRICT OF MICHIGAN oT
PERCY SHAW and GENEVA DAVIS, Case No. 1:08-CV-401
as Co-Personal Representatives of the Estate of Honorable Janet T. Neff
Porsha Shaw, deceased; PERCY SHAW, individually;
and ANGELA SMITH, as Personal Representative of
the Estate of Broderick Green, deceased,
Plaintiffs,
Vv
LONDON CARRIER INC, a foreign corporation;
LARRY T. SHAW; and FIRST CHOICE CARRIER,
a business entity; jointly and severally,
Defendants.
J. Paul Janes (P43798) Ronald C. Wernette Jr. (P44744)
Gruel Mills Nims & Pylman Bowman and Brooke LLP
Attorneys for Plaintiffs Attorneys for Defendant First Choice Carrier
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Attorneys for Defendants London Carrier
Inc and Larry T. Shaw

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PLAINTIFFS PERCY SHAW AND GENEVA DAVIS’, AS CO-PERSONAL
REPRESENTATIVES OF THE ESTATE OF PORSHA SHAW, DECEASED, THIRD
AMENDED MOTION FOR APPROVAL OF SETTLEMENT, COSTS, AND
ATTORNEY FEES AND DISTRIBUTION OF SETTLEMENT PROCEEDS
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NOW COME Plaintiffs Percy Shaw and Geneva Davis, as Co-Personal Representatives of the

Estate of Porsha Shaw, deceased, by and through their attorneys, and, pursuant to MCLA

600.2922, moves this honorable Court to approve settlement and distribute proceeds of the

settlement. As a term and condition of the settlement, confidentiality of the settlement’s terms

was required. The confidential terms of the settlement are as follows:

I.

The subject matter of this case involves three fatalities—Porsha Shaw, Broderick
Green, and Dorothy Lewis—who died in a tragic automobile/trucking accident on
October 15, 2007.

Percy Shaw and Geneva Davis are the Co-Personal Representatives of the Estate of
Porsha Shaw.

There is a case pending in Wayne County Circuit Court, case number 08-1 13833-NI, in
which Angela Smith, as Personal Representative of the Estate of Broderick Green, is
defendant and counter-plaintiff, and Percy Shaw, individually, is a defendant and
counter-plaintiff. In addition, plaintiff Chery! Lewis, individually and as Personal
Representative of the Estate of Dorothy Lewis, sued London Carrier Inc, Larry T.
Shaw, and First Choice Carrier Inc, Percy Shaw Jr. individually, and the Estate of
Broderick Green.

A joint facilitation in both the Wayne County case and Federal case was held on July
23, 2010 for both cases, and both cases ultimately settled for a confidential amount
($2,000,000.00 Canadian) to be divided equally as to the Estate of Porsha Shaw, the
Estate of Broderick Green, and the Estate of Dorothy Mae Lewis. Please see the
Facilitation Agreement from the facilitation attached as Exhibit 1.

Percy Shaw and Geneva Davis, as the Co-Personal Representatives of the Estate of

Porsha Shaw, ask that this Court approve the settlement, in the total amount of

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$666,666.66 Canadian / $638,913.55 U.S., as to the Estate of Porsha Shaw for the

reason that it is in the best interest of the Estate of Porsha Shaw.

6. The Co-Personal Representatives for the Estate of Porsha Shaw hereby request that this
Court enter an order approving disbursement of the settlement proceeds as to the Estate
of Porsha Shaw as follows:

a. $65,373.00 U.S. to Fieger Fieger Kenney Johnson & Giroux PC, said sum
representing reimbursement for attorney costs expended in prosecuting this
case;

b. $189,613.33 U.S, to Fieger Fieger Kenney Johnson & Giroux PC, said sum
representing attorney fees payable pursuant to the contingency fee agreement
between Fieger Fieger Kenney & Johnson PC, Gruel Mills Nims & Pylman
LLP, and Plaintiffs;

C. $3,500.00 U.S. to Howard T. Linden, Esq. for probate attorney fees for the
Estate of Porsha Shaw; and

d. $1,200.00 U.S. to James McCann for guardian ad litem fees.
7. Distribution of net proceeds herein, after deduction of the above cited costs, attorney
fees, and liens as to the Estate of Porsha Shaw, deceased:
a. Geneva Davis (mother of deceased)
i. Cash Payment: $67,787.22 US.
b. Percy Shaw (father of deceased)
li. Cash Payment: $10,000.00 U.S.
c. D’Vion Davis (son of deceased: age 6)
iii. Cash Payment: $150,000.00 U.S.

At the time of settlement, $3,500.00 U.S. cash payment for the calendar year
2010.

Balance of said funds, $146,500.00 U.S., to purchase a structured settlement
annuity, which will be paid as follows:

Monthly payments of $300.00 beginning January 1, 2011 to continue
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10.

until D’ Vion turns age 18. In addition, there will be annual payments
beginning at 18, 19, 20, and 21 to pay for college education. There will
be additional payments at age 25 and 30. Specific dollar amounts set
forth in Exhibit 2.
d. S’Miya N. Shaw (daughter of deceased)
iv. Cash Payment: $150,000.00 U.S.

Balance of said funds, $150,000.00 U.S., to purchase a structured settlement
annuity, which will be paid as follows:

Future cash payments at age 30 and 35. Specific dollar amounts set
forth in Exhibit 2.

e, Dolly L. Willis (half sister of deceased)
Vv. Cash Payment: $0
f Shontea L. Williams (half sister of deceased)
vi. Cash Payment: $0
g. Yamanda C. Aron (sister of deceased)
vii. | Cash Payment: $480.00 U.S.
h. Derek T. Aron (brother of deceased)
viii. Cash Payment: $480.00 U.S.
i. Percy D. Shaw (brother of deceased)

ix. Cash Payment: $480.00 U.S.

J. Melvin Shaw (half brother of deceased)

X. Cash Payment: $0
Plaintiffs also request that this Court award no monies to the Estate of Porsha Shaw on
account of conscious pain and suffering of decedent.
The reasonable medical, funeral, and burial expenses of decedent have been paid.

The Co-Personal Representatives have not been contacted by any other parties and
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know of no other persons that suffered damages as a result of decedent’s death and

further have given notice as required by statute.

WHEREFORE Plaintiffs respectfully request that this honorable Court grant Plaintiffs’

Motion for Approval of Settlement, Costs, and Attorney Fees and Distribution of Settlement

Proceeds on behalf of the Estate of Porsha Shaw, deceased, and enter an appropriate order

(proposed orders attached at Exhibit 3).

Dated: October 11, 2010

GRUEL MILLS NIMS & PYLMAN LLP
Attorneys for Plainti

 
 
   

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